       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 1 of 38




             IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION
____________________________________
                                 )))
                                     )
JACKLYN WILFERD,                     )
                                     )
          Plaintiff,                 )      Civil Action No.
                                     )   20-CV-01955-SDG
     v.                              )
                                     )
DIGITAL EQUITY, LLC, and KHURAM )
DHANANI,                             )
                                     )
          Defendants.                )
____________________________________)

                           AMENDED COMPLAINT

      Plaintiff Jacklyn Wilferd (“Wilferd” or “Plaintiff”), by and through her

attorneys, hereby alleges as follows against defendants Digital Equity, LLC

(“Digital Equity”), and Khuram Dhanani (“Dhanani,” and collectively,

“Defendants”):

                                INTRODUCTION

      1.     This is a diversity and declaratory judgment action arising under 28

U.S.C. § 1332, and 28 U.S.C. §§ 2201 and 2202, pursuant to Georgia and

California state law, alleging causes of action for an accounting, breach of contract

and the covenant of good faith and fair dealing, breach of fiduciary duty, fraud,

financial abuse of an elder, defamation and for a declaratory judgment, seeking,
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 2 of 38




inter alia, compensatory, punitive and trebled damages, attorneys’ fees and costs,

as well as a declaration of the rights of the parties related to the claims herein.

      2.     In this case, plaintiff Jacklyn Wilferd purchased wines.com in 1994

and developed the domain and website for 24 years, before entering into profit-

sharing agreements in 2018 with defendants to further develop and sell the domain

and website as a commercial product, while generating revenue in the interim.

Prior to entering into the profit-sharing agreements with defendants for

development and sale of the domain and website, Wilferd had either rejected or did

not complete offers or agreements to purchase the domain ranging from $700,000

to $2.5 million, as she wished to maximize the value of her sale as a 68-years-old

senior seeking to retire. Dhanani, however, simply swindled Wilferd, paying her

$50,000 for transfer of the domain and website to his company, Digital Equity,

LLC, to facilitate a sale, but doing basically nothing to develop the website, except

post pornographic content under Wilferd’s name (contrary to his promises). And

then, after selling the domain and website only a year later in 2019, Dhanani

claimed that defendants had no obligation to pay Wilferd anything more under

their profit-sharing agreements, because the sale was purportedly not a “product

sale,” but a “corporate-level asset sale,” a distinction nowhere part of their

agreements. To date, Dhanani has refused to provide Wilferd the full details


                                           2
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 3 of 38




regarding the sale or an accounting for the company in which she was a profit-

sharing partner.

      3.      By this action, Wilferd seeks to recover the substantial value of the

domain and website she developed for 24 years, worth between $1 million and

$5 million, which defendants disingenuously claim they purchased from her for

only $50,000—with no further obligation under their profit sharing agreements to

account for the sale of the domain and website—in breach of their agreements,

fiduciary duties and other obligations. Because their misconduct also constitutes

an egregious fraud and elder abuse, Wilferd seeks to further recover punitive and

trebled damages, attorneys’ fees and costs in this action.

                                      PARTIES

      4.      Jacklyn Wilferd is an individual, who resides in and is a citizen of

California.

      5.      Digital Equity, LLC, is a Georgia limited liability company, formed

on May 3, 2017, with its alleged principal place of business at The UPS Store,

4850 Sugarloaf Parkway, Suite 209-111, Lawrenceville, Georgia 30044.

      6.      Khuram Dhanani is an individual, and is a citizen of Georgia, who

resides at 1691 Telfair Chase Way, Lawrenceville, GA, 30043, and upon

information and belief, is the sole member of Digital Equity, LLC.


                                          3
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 4 of 38




                          JURISDICTION AND VENUE

      7.     This action arises under the laws of the State of Georgia and

California. This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1332. Plaintiff is a citizen of one state – California – and all

defendants are citizens of a different state – Georgia. The amount in controversy

exceeds the sum or value of $75,000, exclusive of interest and costs. At a

minimum, Plaintiff seeks damages related to and in the amount of the value of her

interest in wines.com, which is at least $500,000.

      8.     This Court also has jurisdiction over Plaintiff’s claims for declaratory

and injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202.

      9.     Venue is proper in this District pursuant to 18 U.S.C. §§ 1391(b)(1)

and 1965(a), insofar as all Defendants reside and transact business in this District.

                                       FACTS

      10.    On September 19, 1994, Jacklyn Wilferd (“Wilferd” or “Plaintiff”)

purchased the domain wines.com. Like other single-word, commercially-

marketable product related domains, wines.com is highly valuable, in the range of

$1 million to $5 million, depending on the buyer in any commercially reasonable,

arms-length transaction. In 2000, Wilferd received a $2.5 million offer for the

domain, and a $2 million offer in 2008. While she entered into various agreements


                                          4
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 5 of 38




regarding a potential sale, for various reasons, she never completed any sale and

retained ownership of the domain.

      11.    An independent, leading domain appraisal website, Estibot.com,

appraises wines.com at $2,973,000:




      12.    In 2012, Wilferd resumed active management of the domain, and

through 2018, cultivated the domain as a marketable commercial product for sale

to an interested buyer. Wilferd developed a website with articles, videos,

discussion boards, and terminology and resource pages on wines and matters of

social interest among oenophiles (i.e., wine connoisseurs), as well as developed

substantial linking relationships, increasing traffic to the website and thereby

increasing its value to a potential purchaser of the domain as a commercially viable

product. See, e.g., Internet Archive, Wines.com, WAYBACK MACHINE (Jan. 3,


                                          5
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 6 of 38




2017), https://web.archive.org/web/20171228061858/http://wines.com/ (last visited

Apr. 18, 2020). In addition, in partnership with Lisa Consani (“Consani”), in 2017,

Wilferd developed an ecommerce wine store on the website.

      13.    These actions were critical because a domain and website together

form a marketable commercial product. It is misleading to the point of fraud to

suggest that they are merely a “Domain Name” or intellectual property right—this

is false. In this case, for example, while the domain is the name wines.com, it is

more than merely a “name.” A domain is comprised of two different levels: a top-

level domain (TLD) and a second-level domain (SLD). The TLD is the suffix, in

this case “.com,” which is meant to communicate the purpose or location of a

website. .com, of course, indicates that the domain is intended for commercial

purposes—i.e., for buyers to use to establish a commercial enterprise, not merely

an abstract intellectual property right. The SLD is the prefix, in this case, “wines,”

which reinforces the brand or website identity. Brands, of course, are associated

with products.

      14.    A website is collection of files and coding language in the back-end

architecture that produces a front-end experience for Internet users—it is one of the

principal means by which a domain can be developed into an integrated product.

So, when a user goes to www.wines.com on the Internet, what a user sees on the


                                          6
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 7 of 38




screen is not merely the URL of the domain, but also the website built on the

domain. The domain and website are a manufactured product, which contributes

substantially, if not immeasurably to the value of the domain. Indeed, websites

host content and coding for search engine optimization (“SEO”), which all

combine to drive traffic to the domain and website and increase its visibility, and

therefore valuation. In this case, for wines.com, Wilferd developed a website, with

articles, forums and ecommerce that dramatically increased the value of the

domain wines.com, by transforming the raw TLD and SLD into a commercially

refined, integrated product.

      15.    Confirming the integrated product view, the methodology used to

value domains, for instance, in this case, the approximately $3 million valuation

that Estibot.com places on wines.com, is not merely based upon the name

“wines.com.” It is based on, as Estibot.com explains:

      [A] statistically derived model to calculate the value of a domain name
      based on over one hundred internal and external domain attributes. …
      Internal attributes include domain length, extension, word count,
      pronunciation and other characteristics directly linked to a specific domain.
      External attributes refer to third party data such as a domain’s search
      popularity, type-in rank. age and much more. The characteristics of a
      specific domain name are then compared to those of previously sold domain
      names and the valuation is based on that comparison.

Estibot.com, Methodology, https://www.estibot.com/methodology (last visited Jun.

11, 2020) (emphasis added).

                                         7
        Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 8 of 38




      16.    The domain and the website, therefore, are for commercial purposes

not easily separable, if at all. Like a gold necklace sold in a store, there is the gold,

and then there is the manufacturing process and design to turn it into a product.

While the gold can be melted back into a base commodity, the refined necklace is

no less a product. This is true of all products, which comprise various components,

including intellectual property rights, none of which make the combination of

elements any less a product. The same is true of domains, and in this case, the

product www.wines.com. And even more so, because merely deleting a website or

selling the domain separately does not automatically erase the traffic and value the

website created, and thereafter continues to create.

      17.    Following Wilferd’s substantial development of wines.com, in 2018,

Consani introduced Wilferd to defendant Khuram Dhanani (“Dhanani”) as a

potential business partner to help further develop wines.com, as Dhanani claimed

to have substantial capital he would contribute to the business, as well as

experience in developing domains for sale as commercial products.

      18.    Indeed, during their telephone conversations in and around July 2018,

Dhanani represented to Wilferd that, as part of the parties’ joint venture

arrangement, he (1) would invest $200,000-$300,000 of his own money into

further developing wines.com, (2) had a “team” who could help further develop the


                                           8
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 9 of 38




website to a $3-5 million valuation “fast,” and (3) in the arrangement, they would

split all profits, including from the sale of the domain and website. Wilferd—who

was 68 years old at that time—was clear that, having received other offers for

wines.com, and even one as recently as March 2018 for $700,000 from a broker

(and another in July 2018 that she did not explore), the website was essentially her

retirement fund, and in partnering with Dhanani, she would need at least

$1,000,000 from their arrangement, which he claimed was achievable.

      19.    Dhanani offered to draft an agreement between Digital Equity and

Wilferd, and sent Wilferd two agreements: (1) a domain name purchase agreement

(“Domain Agreement”), transferring wines.com to Digital Equity, LLC (“Digital

Equity” or the “Company”), a limited liability company, registered in Georgia, on

May 3, 2017, of which, upon information and belief, Dhanani was the sole

member, in exchange for a payment of $50,000 to Wilferd and (2) a profit-sharing

agreement (“Profit Agreement”), in which Wilferd would receive from Digital

Equity “50% (fifty percent) of net profits after expenses that are generated by

Company directly from product sales, advertising sales, accessory sales, affiliate

sales, ticket sales, tour sales and commision [sic] sales.”

      20.    The Profit Agreement did not list every “product sale” or other “sale,”

nor limit the products covered by the agreement to products sold on wines.com, but


                                          9
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 10 of 38




provided general categories of sales covered. Further, the Profit Agreement did

not define the word “products,” which usually and customarily includes, and the

parties to the agreement intended it to include, a domain and website developed for

commercial sale as a product, in addition to any wines sold on the website.

      21.    Also, the Profit Agreement provided that Digital Equity “will provide

[Wilferd] access to financial information upon request, including revenue, sales,

expenses, screenshots, and profits.”

      22.    While in the Domain and Profit Agreements, Digital Equity and

Wilferd agreed to a limited merger clause, that clause only covered “the subject

matter herein” and the “subject matter hereof,” excluding matters that were not

expressly discussed in the agreement—which the various operating and sale terms

and conditions related to the domain and website were not, which were covered by

separate oral agreement. In addition, while in the Profit Agreement, Digital Equity

stated that “Company makes no guarantees, representations or warranties”

regarding a limited list of issues, Dhanani never made any such representation in

any agreement. “Company” was expressly defined in the Profit Agreement as only

“Digital Equity, LLC,” and did not include Dhanani or any of its officers,

employees or agents as is normal practice when further disclaimers are intended to

provide protection beyond the corporate entity itself.


                                         10
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 11 of 38




      23.    To the contrary, to induce Wilferd to sign the agreements, Dhanani

personally claimed that (1) prospective buyers would not work with him unless the

domain was transferred to Digital Equity, (2) he already had an interested company

willing to pay $200,000 for advertising on the website, and (3) Wilferd would

receive $100,000 within thirty days, in addition to further payments for product

sales, which would only increase as the Christmas season approached. As to the

sale of the primary product in the proposed venture, wines.com, to allay Wilferd’s

concerns that she would not receive her desired retirement of $1,000,000 from the

sale under their profit-sharing agreements, Dhanani further represented and agreed,

as part of their joint venture and agreement, that (4) Defendants would not sell the

website and domain for less than $3-4 million, (5) Wilferd would have the right to

approve any sale, and (6) prior to any sale, Defendants would actively operate the

website as a “cash cow,” producing between $5,000 and $10,000 per month in

profits. Wilferd reasonably and justifiably relied upon these representations by

Dhanani, given his claimed superior business acumen and experience in

developing domains for sale as commercial products.

      24.    Both the Domain and Profit Agreement were executed by Wilferd and

Digital Equity on July 15, 2018 (attached hereto as Exhibit A). They were

executed together, which is why the sale of the domain and website wines.com was


                                         11
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 12 of 38




for only $50,000—an extreme discount to market value to facilitate the profit-

sharing arrangements between the parties. Comparable websites with popular,

commercially-marketable, single-word domain names sold in arms-length

negotiations have been sold in the range of $3 million to $30 million. For

example, loans.com sold for $3 million in 2000. Hotels.com sold for $11 million

in 2001. Candy.com sold for $3.0 million in 2009. Toys.com sold for $5.1 million

in 2009. Slots.com sold for $5.5 million in 2010. 360.com sold for $17 million in

2015. Voice.com sold for $30 million in 2019.

      25.    After the execution of the agreements, it started to become clear that

virtually everything about Dhanani was and is a fraud. While on his LinkedIn.com

page, he promotes

publications like

“Inside The Mind Of

A Millionaire: E-

Commerce

Entrepreneur Khuram

Dhanani On Success

& His Next Move,” on Forbes.com, and “How Khuram Dhanani Went From

Unemployable To CEO” on GoodMenProject.com, all of his alleged


                                         12
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 13 of 38




“publications” are, upon information and belief, fabricated by Dhanani himself or

were paid advertising publications. Indeed, an entire Wikipedia.com page is

devoted to debunking Dhanani’s alleged notoriety. See Wikipedia.com,

Wikipedia: Articles for deletion/Khuram Dhanani,

https://en.wikipediam.org/wiki/Wikipedia:Articles_for_deletion/Khuram_Dhanani

(last visited Jun. 10, 2020).

      26.    There is no objective evidence that any of the alleged companies that

he claims to have “founded” to pull himself out of unemployment, either existed or

were sold. “ZQ Networks,” which Dhanani claims on LinkedIn.com to have

created in 2010, and was supposedly “[a]cquired by multiple strategic buyers,” was

never a registered corporation, not in Georgia or Delaware. Clear Spark, LLC,

which was registered in Georgia in 2012 and which Dhanani claimed he sold to a

“Chicago investor group,” according to his LinkedIn.com page, was in fact

administratively dissolved by the Georgia Secretary of State “for its failure to

deliver its annual registration, together with all required fees and penalties, within

60 days after it was due, and/or having been without a registered agent or

registered office in this state for 60 days or more.” Indeed, all the businesses he

has incorporated in Georgia were administratively dissolved in a relatively short

period after he created them.


                                           13
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 14 of 38




      27.    As to Digital Equity

(Dhanani’s only active, but

noncompliant business in Georgia,

which is now also subject to

dissolution), its purported business

“Principal Office Address,” according to his registration with the Georgia

Secretary of State—4850 Sugarloaf Parkway, STE 209-111, Lawrenceville, GA,

30044—is in fact The UPS Store, sandwiched in between a Subway and GNC,

according to Google Earth, and the process servers retained by Plaintiff who

attempted to serve Digital Equity at this address. He previously registered a now

administratively dissolved corporation, Bland Brands Group, LLC, to 6600

Sugarloaf Pkwy, Ste. 400-221, Duluth, GA, 30097, another The UPS Store

location.

      28.    And he lives at home with his mother, who owns 1691 Telfair Chase

Way, Lawrenceville, GA, 30043, out of which the remainder of his now dissolved

corporations operated.

      29.    In the months following execution of the agreements, Wilferd

discovered that, contrary to his claims, upon which she relied, Dhanani did not

have any advertising agreements for the website, did not have any money to invest


                                         14
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 15 of 38




into the website, and did not operate the website or develop its content for sale.

Indeed, Wilferd discovered that Dhanani did not even drink wine.

      30.    Instead, Dhanani stated to Wilferd that the best way forward and to

generate revenue was to find potential investors to fund the development of the

website and manage its operations. In or around September 2018, Dhanani

attempted to bring on a company called Underground Cellars to invest in and

operate the website (with an option to purchase the domain and website). But after

months of delay and inaction, Underground Cellars failed to make any investment

or complete a purchase of the domain and website.

      31.    Consequently, for a period of nine months from July 2018 to

April 2019, Dhanani made no effort to update, operate or otherwise fund the

website. Wilferd repeatedly offered to return the $50,000 that Digital Equity paid

for the transfer of the domain, seeking to rescind the Domain Agreement, but

Dhanani refused.

      32.    Then, starting in April 2019, a series of blog articles started appearing

on the website, attributed to Wilferd (which she did not author), filled with basic

grammatical errors and broken sentence structures, and salacious, pornographic

topics such as “PORN STAR SYDEY COLE CALLED HER FAVOURITE

WINES (ENG), which read in part:


                                          15
      Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 16 of 38




      Sydney Cole is one of the newest porn stars on the internet, but she is also
      ready to take over the industry. She looks and performances are perfect.
      She’s a brunette who dyes her hair blonde and she has dark green eyes.
      She’s a Florida babe, born in Tampa on November 2nd 1996. What I like
      the most about her are the boobs. She doesn’t have big boobs, but they look
      magnificent. Her cup size is 32B, but the nipples are the ones that matter.
      She has big areolas that are the perfect size for sucking. Although she has
      puffy nips, they are hard and pointy. The boobs might not be big, but they
      surely match the rest of her body. She’s 5 feet and 2 inches tall and weighs
      105 lbs. Sydney Cole also has some sexy long legs and she has ribbon
      tattoos on both her hamstrings. Besides these cute and sexy ribbons, she
      also has a tattoo of musical notes on her upper back. As for piercings, she
      has one in her navel. All in all, she is one of the hottest newcomers. She
      will surely change a bit in the next period, as she is only 20 years old now
      and her body will still change for the next couple of years, but I’m sure she
      will look just as hot, if not hotter.

      This young porn star has gained her popularity thanks to the cumshots in
      BrattySis. Bratty Sisters it’s when horny young ladies give into the drive of
      their hormones inside family. Teenage girls can be the worst. They’re hot
      as hell with loud mouths and bitchy attitudes. They know they are jailbait
      yet still walk around in tiny shorts with their ass cheeks hanging out. Then
      they hit 18 and are fully legal for you to watch in porn. The naughtiest
      among them love being on camera and showing that fresh pussy to the
      world. That’s when teenage girls become the absolute best!

The article then lists “THE TOP TEN WINES BY SYDNEY COLE.” See Jackie

Wilferd, PORN STAR SYDNEY COLE CALLED HER FAVOURITE WINES

(ENG), WINES.COM (Jul. 31, 2014), https://wines.com/blog/porn-star-sydney-cole-

called-her-favourite-wines-eng/ (last visited Apr. 18, 2020). The article was

backdated—which is a simple matter of selecting any desired date in the content

management system—to appear as if it had been on the website for years.



                                         16
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 17 of 38




      33.    Defendants Dhanani and Digital Equity were directly responsible for

either authoring and/or hiring foreign contractors to author these posts, as well as

directly participating in and approving their publication. Upon information and

belief, the posts were not independently created by any third party. Indeed, at the

time, and still today, the website www.wines.com did not and does not allow

independent user content to be posted on the website. The only content posted to

the blog is by users authorized and approved by the website owners, in this case,

Digital Equity.

      34.    To be sure, this was not the first time that Dhanani had used either

fictional or actual foreign contractors to create content for himself, as he did with

the blogs at issue here. Upon information and belief, Dhanani created the

YouTube.com video “Khuram Dhanani and Chelsea Banks on the London Digital

Podcast,” available at https://www.youtube.com/watch?v=FGxPWAFvqN8,

manufacturing a fictional female with a British accent, “Chelsea Banks,” whose

voice in the video is simply a computer-generated voice that Dhanani created or

used. The YouTube.com user “Chelsea Banks” has only one video, and has not

conducted any interviews with any other person—only the one created by Dhanani.

And throughout the purported “interview,” “Chelsea Banks” merely voices

questions, with pauses where Dhanani’s name is obviously inserted.


                                          17
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 18 of 38




      35.    More compelling, the image Dhanani used for “Chelsea Banks” is (if

one simply takes a screen shot and conducts a Google image search) a stock

photograph, available for purchase on GettyImages.com, which appears on literally

hundreds of websites (most often as blogger “Laura Gayle” on

www.theceshop.com), which a side-by-side comparison shows:




      36.    Wilferd raised the apparently fictional or foreign-generated articles

now appearing on www.wines.com/blog to Dhanani, but they continued to appear

until July 2019. After repeated attempts by Wilferd to coordinate with Dhanani on

a plan to develop wines.com for sale, Dhanani said he would develop a strategy

and respond by July 15, 2019, incidentally, the one year anniversary of the sale,

after which applicable capital gains taxes would decline. Dhanani responded to

Wilferd in or around July 2019, suggesting that she write articles for the website

and submit a plan to him. After she did, however, Dhanani then suggested she




                                         18
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 19 of 38




merely edit articles he had developed through foreign workers who could create

content.

      37.    After his last July 2019 response, Dhanani refused to respond to

Wilferd and her repeated inquiries until October 8, 2019, when Wilferd discovered

that wines.com had been sold to Brent Oxley, on August 27, 2019, as reflected in

the WHOIS registration of the domain. Oxley is the founder of HostGator.com,

which he sold for over $300 million, and a well-known domain purchaser. Oxley

certainly had the means to pay value for wines.com. And yet, Dhanani has

recently claimed, through his attorneys, that he sold the domain and website to

Oxley for a mere $200,000—well below any reasonable market value.

      38.    When Plaintiff confronted him about the sale back in October 2019,

Dhanani admitted that he sold the domain and website, but refused to provide any

details regarding the sale, claiming he had no obligation to pay any of the profits to

Wilferd, because he claimed the sale was a “corporate level” sale of assets, not sale

of a “product” and therefore purportedly outside of the scope of the Profit

Agreement or any other agreement. During the entire period, Digital Equity failed

to pay any profit-sharing to Wilferd under the Profit Agreement or any other

agreement.




                                          19
         Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 20 of 38




         39.   Following the sale of the domain and website, Wilferd repeatedly

requested an accounting from Digital Equity, including on April 17, 2020. And

while Dhanani indicated that he would be providing a March 2020 statement, he

has never provided any accounting. Indeed, his attorney in this action, Paul R.

Barsness, stated on May 27, 2020, that “the P&L has not been prepared,” and to

date has refused to provide any bank records, or other accounting, despite repeated

requests, and has refused to agree to early discovery to provide that information to

Plaintiff. To date, Defendants have provided nothing, showing their promises and

purported claims that they “agreed” to provide an accounting were hallow and

false.

         40.   To be clear, Defendants have never agreed to provide any accounting.

All claims that Defendants “would” provide an accounting have proven false. And

no proceeds from the sale of the domain and website have been provided to

Plaintiff, but have been frivolously frittered away by Dhanani. Indeed, shortly

following the sale, Dhanani took several uncharacteristic trips to Miami and Las

Vegas, among other locations, taking pictures of himself and posting them on

Twitter.com under his profile “@iamkhuram,” eating at expensive restaurants, like

Nobu, and staying at expensive hotel suites, like The Diplomat Beach Resort

Hollywood. When this action was filed, and as recently as June 6, 2020,


                                          20
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 21 of 38




Dhanani’s Twitter profile was public. He has since made his Twitter account

private to conceal his continuing frivolous dissipation of sale proceeds.

      41.       Furthering these efforts, immediately after notice that this action was

filed, on May 12, 2020, Dhanani created a website for a venture capital firm Soft

Stone Capital, LLC (“Soft Stone”). See ICANN, WHOIS Lookup,

softstonecapital.com, https://lookup.icann.org/lookup (last visited May 22, 2020).

Soft Stone states that its purpose is to “Invest in businesses.” Soft Stone Capital,

LLC, Focus, www.softstonecapital.com (last visited May 22, 2020). It further

states “Our process is quick: Analyze the opportunity. Perform due diligence.

Identify value-creation levers. Create 100-day plan. Complete the acquisition.”

Id. Soft Stone, however, was not a registered limited liability company in

Delaware, where it claims its principal place of business is located, until May 21,

2020, the day after Dhanani was served with this action.

      42.       As a consequence of Defendants’ misconduct, Wilferd has lost the

entirety of her life’s work and retirement: wines.com.

                                CAUSES OF ACTION
                              COUNT I – ACCOUNTING
                               (against all Defendants)

      43.       Plaintiff incorporates by reference paragraphs 1 through 42 as if stated

fully herein.


                                            21
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 22 of 38




      44.    A special relationship of trust and confidence existed between

Plaintiff and defendants Dhanani and Digital Equity, with whom Plaintiff entered

into a joint venture and upon whom Plaintiff relied to determine profits, sufficient

to entitle Plaintiff to a right of access to, and an inspection and accounting of, the

books and records of Digital Equity, which were in Defendants’ exclusive

possession, custody and control, and for which Dhanani was responsible for

maintaining and providing access.

      45.    Furthermore, Plaintiff entered into an enforceable contract with

defendant Digital Equity, specifically providing for inspection and accounting

rights in Paragraph 4 of their Profit Agreement, pursuant to which Digital Equity

agreed to “provide [Wilferd] access to financial information upon request,

including revenue, sales, expenses, screenshots, and profits.”

      46.    Plaintiff made several proper books and records requests between

2018 and 2020, including but not limited to on April 17, 2020, which to date, have

been denied by Defendants. Defendants have never agreed to the request or

produced any documents by any date certain. To the contrary, Defendants have

merely made false claims that they “would” produce documents and for over a

year, refused to produce any.




                                           22
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 23 of 38




      47.       Plaintiff is entitled to an order compelling the production of all Digital

Equity books and records for inspection and an accounting by a date certain, if not

immediately.

       COUNT II – BREACH OF CONTRACT AND COVENANT OF
                  GOOD FAITH AND FAIR DEALING
                 (against defendant Digital Equity, LLC)

      48.       Plaintiff incorporates by reference paragraphs 1 through 47 as if stated

fully herein.

      49.       Plaintiff entered into a valid, enforceable written Profit Agreement

with defendant Digital Equity, dated July 15, 2018, with reasonably definite and

certain terms, pursuant to which Digital Equity would pay “50% (fifty percent) of

net profits after expenses that are generated by Company directly from product

sales, advertising sales, accessory sales, affiliate sales, ticket sales, tour sales and

commision [sic] sales.” As part of the contract, the law implied a covenant of good

faith and fair dealing.

      50.       Defendant Dhanani was not a party to the Profit Agreement, nor an

express or intended third-party beneficiary of any of its provisions.

      51.       Plaintiff performed all of her obligations under the agreement, and

never violated any term or provision of the agreement.




                                             23
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 24 of 38




      52.       Defendant Digital Equity materially breached the agreement by failing

to pay fifty percent of the profits from the sale of wines.com, which was a product

sale under the Profit Agreement. Further, Digital Equity breached the covenant of

good faith and fair dealing by selling the domain and website in order to deny

Wilferd profits from the operation of the website as contemplated in and under the

terms of the Profit Agreement, and purportedly structuring the sale of wines.com in

a manner so as to claim, and claiming to Wilferd, that it was not a product sale

under the Profit Agreement in order to deny Wilferd her share of the proceeds.

      53.       As a direct and proximate cause of Digital Equity’s misconduct,

Plaintiff suffered significant injury and damages. Plaintiff seeks enforcement and

damages arising only out of the Profit Agreement.

       COUNT III – BREACH OF CONTRACT AND COVENANT OF
                  GOOD FAITH AND FAIR DEALING
                       (against all Defendants)

      54.       Plaintiff incorporates by reference paragraphs 1 through 53 as if stated

fully herein.

      55.       Plaintiff entered into a valid, enforceable oral joint venture agreement

with Defendants in which they agree to jointly develop wines.com for sale to a

third party and in connection therewith, Wilferd would enter into both the Domain

and Profit Agreements with Digital Equity to facilitate the marketability and sale


                                            24
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 25 of 38




of the domain and website. As part of the agreement, Defendants agreed that

Dhanani (1) would invest $200,000-$300,000 of his own money into further

developing wines.com, and (2) in the arrangement, they would split all profits not

otherwise covered by the Profits Agreement, including to the extent not included in

the Profits Agreement, from the sale of the domain and website. Further,

Defendants agreed that (3) they would not sell the domain for less than $3-4

million, (4) Wilferd would have the right to approve any sale, and (5) prior to any

sale, Defendants would actively operate the website as a “cash cow” to produce

monthly revenue—all constituting the “Oral Agreement.” As part of the contract,

the law implied a covenant of good faith and fair dealing.

      56.    There is no written agreement, merger clause or disclaimers of any

kind, written or oral, between Plaintiff and Dhanani. The Oral Agreement between

Plaintiff and Digital Equity alleged herein relates to matters outside the scope of

their Domain and Profit Agreements, and the merger clauses therein contained.

Indeed, the Domain Agreement merely relates to the transfer of wines.com from

Wilferd to Digital Equity, to facilitate the Profit Agreement, which relates to the

split of profits from various described categories of sales. Neither the Domain or

Profit Agreement address the subject matter of the operating terms of the joint




                                          25
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 26 of 38




venture of the parties, or the conditions of any sale of the website to a third-party,

which were addressed by the Oral Agreement.

      57.    In fact, Defendants admit in pleadings in this action that “[n]othing in

either agreement limited Defendants’ ability to re-sell the Domain Name.” [D.E.

No. 16-1, at p.3 (Defs.’ Mem.).] Indeed, “nothing” in either agreement addressed

the subject matter of Defendants’ selling the domain name at all, which was

covered by the Oral Agreement.

      58.    Plaintiff performed all of her obligations under the agreement, and

never violated any term or provision of the agreement.

      59.    Defendants materially breached all of their obligations, failing to

perform any of them. Instead, and further in breach of the covenant of good faith

and fair dealing, Defendants engaged foreign contractors to develop content,

without Wilferd’s approval or consent, sold the website without her consent, and

purportedly structured a sale of the website by Digital Equity in a manner so as to

claim, and claiming to Wilferd, that it was not a product sale under the Profit

Agreement or part of any other agreement in order to deny Wilferd the profits to

which she was entitled.

      60.    As a direct and proximate cause of the Defendants’ misconduct,

Plaintiff suffered significant injury and damages.


                                           26
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 27 of 38




                  COUNT IV – BREACH OF FIDUCIARY DUTY
                           (against all Defendants)

      61.       Plaintiff incorporates by reference paragraphs 1 through 60 as if stated

fully herein.

      62.       Plaintiff was a profit-sharing partner in Digital Equity, a limited

liability company, with Dhanani as its sole member, and a joint venture partner

with Digital Equity and Dhanani, the principal officer and sole member of the

company, in whom Plaintiff placed a special trust and confidence. As joint venture

and profit-sharing partners, Digital Equity and Dhanani owed Plaintiff a fiduciary

duty of utmost good faith and loyalty. As to Dhanani in particular, he occupied

positions in which Plaintiff placed a near-critical level trust, faith and confidence in

his judgment, business acumen and advice in performing the principal executive

office of Digital Equity.

      63.       There is no agreement or representation in any agreement between

Plaintiff and Defendants that disclaims any joint venture relationship. To the

contrary, the parties combined property or labor in a joint undertaking for profit,

with rights of mutual control. Wilferd contributed the domain and website

wines.com, as well as “new articles, new content, shar[ed] knowledge, and overall

expertise” to Digital Equity, as part of a profit-sharing agreement to develop

wines.com, in which Digital Equity contributed and the parties agreed to split

                                             27
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 28 of 38




profits from the activities of the corporation. Dhanani also contributed his time,

and alleged experience and expertise into the development of wines.com. The

parties agreed to various rights allowing mutual control, including but not limited

to content approval, and sale rights.

      64.    Digital Equity materially breached its duty to Plaintiff by its bad faith

sale of corporate products and failure (a) to provide accounting or books and

records access to Plaintiff, as a means of hiding its fraud and misconduct from

Plaintiff, and (b) to pay profits from the sale of wines.com, claiming falsely and in

bad faith that it was a sale of an “asset” rather than a “product” under the Profit

Agreement.

      65.    Dhanani breached his fiduciary duty to Plaintiff by his bad faith (a)

refusal to provide any accounting or books and records access to Plaintiff, as a

means of hiding his fraud and misconduct from Plaintiff, (b) failure to invest

money in or in any manner reasonably develop wines.com, and (c) claim that

Plaintiff was not entitled to any profits from Digital Equity because the sale of

wines.com was a sale of an “asset” rather than a “product” under the Profit

Agreement. In addition, Dhanani engaged in various acts of self-dealing, (d)

transferring substantial profits to himself from Digital Equity.




                                          28
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 29 of 38




      66.       As a direct and proximate cause of Defendants’ misconduct, Plaintiff

suffered significant injury and damages.

                                 COUNT V – FRAUD
                         (against defendant Khuram Dhanani)

      67.       Plaintiff incorporates by reference paragraphs 1 through 66 as if stated

fully herein.

      68.       Dhanani represented to Wilferd during their telephone conversations

in and around July 2018, as part of a joint venture arrangement, that he (1) would

invest $200,000-300,000 of his own money into further developing wines.com, (2)

had a “team” who could help further develop the website to a $3-5 million

valuation “fast,” and (3) in the arrangement, they would split all profits, including

the domain and website.

      69.       Further, Dhanani claimed that (1) prospective buyers would not work

with him unless the domain was transferred to Digital Equity, (2) he already had an

interested company willing to pay $200,000 for advertising on the website, and (3)

Wilferd would receive $100,000 within thirty days, in addition to further payments

for product sales, which would only increase as the Christmas season approached.

In addition, Dhanani represented that (4) Defendants would not sell the domain for

less than $3-4 million, (5) Wilferd would have the right to approve any sale, and



                                            29
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 30 of 38




(6) prior to any sale, they would actively operate the website as a “cash cow,”

producing between $5,000 and $10,000 per month in profits.

      70.       All of these representations were intentionally and knowingly false at

the time they were made, and were made with the intent that Wilferd would rely

upon them.

      71.       Wilferd reasonably and justifiably relied upon the representations in

entering into the Domain Agreement with Dhanani’s company, Digital Equity,

given Dhanani’s claimed superior business acumen and experience in operating

websites and domain product sales. Wilferd did not know and had no reason or

means to know that the statements were false.

      72.       As a direct and proximate cause of Dhanani’s misconduct, Plaintiff

suffered significant injury and damages. Plaintiff therefore seeks rescission of the

Domain Agreement.

  COUNT VI – FINANCIAL ABUSE OF AN ELDER IN VIOLATION OF
               CAL. WELF. & INST. CODE § 15657.5
                      (against all Defendants)

      73.       Plaintiff incorporates by reference paragraphs 1 through 72 as if stated

fully herein.

      74.       At all times relevant hereto, the fraud and breach of fiduciary duty

complained of herein were directed to California. Wilferd resides in California,


                                            30
         Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 31 of 38




and all communications by Defendants to Wilferd occurred while she was in

California. Defendants had knowledge that Wilferd resided in California, and that

they were soliciting agreements with and funds from a California resident.

Wilferd’s bank accounts are located in California, and all funds complained about

here in were obtained from California. The domain at issue here wines.com was

originally purchased and registered in California, to Wilferd. The website

www.wines.com was created and developed in California, by Wilferd, and all the

work that she was to perform under her agreements with Defendants, was to be

performed in California. The injury suffered by Wilferd occurred in California.

The only connection to Georgia is that Defendants reside or are in incorporated in

Georgia; otherwise, all the transactions were directed to California. And even that

connection to Georgia is marginal. Indeed, Digital Equity has no corporate offices,

but its business address registered with the Georgia Secretary of State is The UPS

Store.

         75.   Under Cal. Welf. & Inst. Code § 15610.30, “‘[f]inancial abuse’ of an

elder or dependent adult occurs when a person or entity does any of the following:

(1) [t]akes, secretes, appropriates, obtains, or retains real or personal property of an

elder or dependent adult for a wrongful use or with intent to defraud, or both” or

“(2) [a]ssists in taking, secreting, appropriating, obtaining, or retaining real or


                                           31
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 32 of 38




personal property of an elder or dependent adult for a wrongful use or with intent

to defraud, or both.”

      76.    Wilferd is an elder under § 15610.27, as she was over the age of 65

and resided in California at all times during the period and with respect to the

conduct alleged herein.

      77.    Dhanani and Digital Equity both took, secreted, appropriated, and

obtained personal property from Wilferd, and assisted in such action, with intent to

defraud, specifically in obtaining wines.com at a nominal transfer fee, with

knowingly false claims that they would share profits in the development and sale

of the domain and website, thereby violating § 15610.30.

      78.    Pursuant to Cal. Welf. & Inst. Code § 15657.5, “[w]here it is proven

by a preponderance of the evidence that a defendant is liable for financial abuse, as

defined in Section 15610.30, in addition to compensatory damages and all other

remedies otherwise provided by law, the court shall award to the plaintiff

reasonable attorney’s fees and costs.”

      79.    As a direct and proximate cause of Defendants’ misconduct, Plaintiff

suffered significant injury, damages, attorneys’ fees and costs.




                                          32
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 33 of 38




                            COUNT VII – DEFAMATION
                              (against all Defendants)

      80.       Plaintiff incorporates by reference paragraphs 1 through 79 as if stated

fully herein.

      81.       Between April and July 2019, Defendants published to third parties on

the website wines.com, where Plaintiff is known to write articles, various articles

attributed to Plaintiff without her permission or consent, which she did not author.

      82.       As a professional writer, the false attribution of the sexually salacious,

pornographic, and in some instances degrading, and grammatically incorrect,

articles to Plaintiff was a substantial disparagement to her name and profession,

and caused or at least are likely to cause serious harm to the reputation and good

name of Plaintiff.

      83.       Indeed, a Google search of Jacklyn Wilferd returns one of the most

offensive articles published and falsely attributed to Plaintiff: “PORN STAR

SYDEY COLE CALLED HER FAVOURITE WINES (ENG),” attributing to

Plaintiff statements such as:

            • Sydney Cole … What I like the most about her are the boobs. She
              doesn’t have big boobs, but they look magnificent. Her cup size is
              32B, but the nipples are the ones that matter. She has big areolas that
              are the perfect size for sucking. Although she has puffy nips, they are
              hard and pointy. … She will surely change a bit in the next period, as
              she is only 20 years old now and her body will still change for the


                                             33
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 34 of 38




                next couple of years, but I’m sure she will look just as hot, if not
                hotter.

            • Teenage girls can be the worst. They’re hot as hell with loud mouths
              and bitchy attitudes. They know they are jailbait yet still walk around
              in tiny shorts with their ass cheeks hanging out. Then they hit 18 and
              are fully legal for you to watch in porn. The naughtiest among them
              love being on camera and showing that fresh pussy to the world.
              That’s when teenage girls become the absolute best!

      84.       Defendants authored, participated in the creation of or otherwise

caused and approved these abhorrent, sexist and degrading statements to be

published without justification, privilege or other defense. Upon information and

belief, these statements were not independently made by third parties.

      85.       As a direct and proximate cause of Defendants’ misconduct, Plaintiff

suffered significant injury and damages.

                   COUNT VIII – DECLARATORY JUDGMENT
                            (against all Defendants)

      86.       Plaintiff incorporates by reference paragraphs 1 through 85 as if stated

fully herein.

      87.       An actual controversy has arisen and exists between the parties,

insofar as there is a real dispute caused by the assertion by Plaintiff of a right in

which she has a definite interest, specifically: (a) to access and conduct an

inspection of the books and records of Digital Equity, (b) an accounting, and (c)

payment of profits arising out of the sale of wines.com, a product sale under the

                                             34
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 35 of 38




Profit Agreement between the parties, among other and future profits to which she

claims she is entitled under the Profit Agreement.

      88.    This action is not duplicative of nor seeks relief the same as other

causes of actions, but seeks a declaration to which Plaintiff is entitled that further

clarifies the rights of the parties as to the subject matter herein.

      89.    Thus, Plaintiff seeks a declaration requiring Defendants to provide

access to, and an inspection and accounting of, the books and records of Digital

Equity, pay fifty percent of any profits from the sale of wines.com to Plaintiff and

all other future profits from sales under the categories enumerated in the Profit

Agreement.

      90.    The requested declaration is necessary for the parties to be certain

about their rights, duties, obligations, status and legal relations, and to preserve

those rights, which without speedy relief might otherwise be impaired or lost.

      91.    The parties have actual, present, antagonistic interests, which are

properly before and justiciable by the Court, and the relief sought is not merely for

legal advice from the Court or answers to question propounded by curiosity.

             WHEREFORE, Plaintiff prays that the Court enter a judgment:

                    (a)    declaring that Defendants are required to provide access
                           to, and an inspection and accounting of, the books and
                           records of Digital Equity, within thirty (30) days of the
                           date of the order of the Court, and that the Profit

                                            35
      Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 36 of 38




                           Agreement entitles Plaintiff to future profits with respect
                           to sales under the categories enumerated therein;

                   (b)     rescinding the Domain Agreement between Plaintiff and
                           Digital Equity;

                   (c)     awarding damages, including compensatory and punitive
                           damages, to Plaintiff in an amount to be determined at
                           trial, including but not limited to under O.C.G.A. § 51-
                           12-5.1, and trebled damages pursuant to Cal. Civ. Code §
                           3345(b);

                   (d)     awarding Plaintiff her costs and any reasonable
                           attorneys’ fees, including but not limited to pursuant to
                           O.C.G.A. § 13–6–11 as Defendants acted in bad faith,
                           already have been stubbornly litigious, and have caused
                           Plaintiff unnecessary trouble and expense; and

                   (e)     granting Plaintiff such further and other relief as the
                           Court may deem just and appropriate under the
                           circumstances.

                                  JURY DEMAND

      Plaintiff demands a trial by jury on all issues so triable.

Dated: Chicago, Illinois                Respectfully submitted,
       June 11, 2020
                                        JACKLYN WILFERD, by and through her
                                        attorneys,



                                        By:/s/John H. Ray, III
                                        John H. Ray, III (admitted pro hac vice)

                                        Ray & Counsel, P.C.
                                        10044 South Leavitt Street
                                        Chicago, IL 60643

                                           36
Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 37 of 38




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                              37
       Case 1:20-cv-01955-SDG Document 17 Filed 06/11/20 Page 38 of 38




                         CERTIFICATE OF SERVICE

       I, John H. Ray, III, hereby certify that on June 11, 2020, I caused a true and
correct copy of the foregoing amended complaint to be served electronically on all
parties of record by the Court’s CM/ECF system.


                                       /s/ John H. Ray, III
                                       John H. Ray, III (admitted pro hac vice)




                                          38
